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                                                                                   r;* r-,

                    IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA               Z3I5 SEP      O      ^
                                     ALEXANDRIA DIVISION              ;•>' • V -




UNITED STATES OF AMERICA                                   Criminal No.: 1:19-MJ-S^ Qi
                                                           Misdemeanor
               V.



JASMINE L. TURNER,                                         Court Date: November 13,2019

                      Defendant.



                                 CRIMINAL INFORMATION


                        (COUNT I - Class A Misdemeanor - 7514172)

THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about September 7, 2019, at Marine Corps Base, Quantico, Virginia, in the Eastern

District of Virginia, the defendant, JASMINE L. TURNER, did unlawfully, knowingly, and

intentionally possess a mixture and substance which contained a detectable amount of marijuana,

a Schedule I controlled substance.

(Violation of Title 21, United States Code, Section 844)




                                                   Respectfully Submitted,

                                                    G. Zachary Terwillig^r
                                                   United Stai



                                                   Garland w. Rijfvland
                                                   Special Assistant United States Attomey
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